Joey Kimbrough
7/19/1970
Last 4 of SSN - 0233

1712 Candy Court South
Kokomo, IN 46902
4A11712022

Snap-On Credit
950 Technology Way Suite 301
Libertyville, IL 60048

CFO or the highest ranking officer Snap-On Credit,
NOTICE TO AGENT IS NOTICE TO PRINCIPAL NOTICE TO PRINCIPLE IS NOTICE TO AGENT

You (Snap-On Company) have been made aware in previous correspondence that your company is
furnishing inaccurate and incorrect information to the consumer reporting agencies! Further, you were put
on notice of the damage that was being caused.

The reporting of inaccurate information has caused severe damage to my character, my reputation, my
general mode of living, and my ability to obtain credit for personal and household uses.

You and your inaccurate reporting have damaged my livelihood. The only remedy at this point is to
remove the Inaccurate account off of my consumer report and to pay the violations as listed in the
enclosed invoice. Failure to cure within 10 days from the receipt of this letter will result in a Civil suit
being filed for these requests. At the point a suit is filed | will be also asking the court for actual damages
as outlined in 15 USC 1681(o) “Civil liability for negligent noncompliance” and 15 USC 1681(n) “Civil
liability for willful noncompliance’.

Statement of inaccuracies as reported by Snap-On Credit

4) Michael H. Walsh (Director of Compliance/Ass’t Corporate Counsel) states the following in
response to the BBB complaint filed by Kimbrough (Exhibit “E”): “I note at the outset that
Snap-On Credit does not do business with consumers. The transaction about which Mr.
Kimbrough complains is a commercial transaction”. Exhibit “A” will show that this account is
being shown on Kimbrough’s personai Consumer Report and is fisted as
“Installment/Secured loan/individual”!

2) Experian is showing a high credit limit of $12,358.00 and Equifax is showing a high credit limit of
$7075.00 (Exhibit “A”).

3) Experian is showing date last reported as 03/31/2022 and Equifax is showing date last reported
as 03/01/2022 (Exhibit “A’).

4) Experian is showing Date Last Active as 08/01/2020 and Equifax is showing Date Last Active as
07/01/2020 (Exhibit “A”).

5) Experian is showing Date of Last Payment as 02/28/2020 and Equifax is showing Date of Last
Payment as 07/01/2020. (Exhibit “A”)
6) Equifax is showing Jan. 22 payment as “OK” while Experian is showing Jan. 22 payment as “CO”
(Exhibit “A”)

7) Equifax is showing Feb.. 22 payment as “OK” while Experian is showing Feb. 22 payment as
“CO” (Exhibit “A”)

Willful and Negligent Violations

15 USC 1681 S-2 (a)(1)(A) - Reporting information with actual knowledge of errors.

15 USC 1681 S-2 (a)(1)(B)(i) - the person has been notified by the consumer, at the address
specified by the person far such notices, that specific information is inaccurate

15 USC 1681 S-2 (a)(1){B)ii) - the information is, in fact, inaccurate.

15 USC 1681 (a)(1) - Accuracy and Fairness of Credit Reporting.

15 USC 1681 (a)(4) - Federal Consumer Right to Privacy

15 USC 1681 (e)(b) - Accuracy of Report

45 USC 1692 (g){b) - Disputed Debts

15 USC 1681 (b)(2) - In accordance with the written instructions of the consumer to whom it
relates. | did not give my written consent. You have no permissible purpose by law to contact third parties
with my private or personal information. Your offenses amount to Aggravated Identity Theft pursuant to
18 U.S.C. §1028A. You have knowingly transferred, possessed, or used, without lawful authority, a means
of identification of me, which is a felony punishable with up to 2 years of imprisonment, in addition to civil
liability.

15 USC 1681 (a\(2\(A}(i} - Consumer report DOES NOT CONTAIN report containing
information solely as to transactions or experiences between the consumer and the person making the
report. Transactions between the consumer (ME) and the person (YOU) (Snan-On Credit} Making the
report is NOT INCLUDED on my Consumer report! A Charge Off is a transactional history, My HISTORY
with your company. CONGRESS clearly states that the reporting of Transactions or experiences between
the CONSUMER and the PERSON making the report is not included on the consumer reports!

- 15 USC 15 - Suits by persons injured - (a) any person who shall be injured in his
business or property by reason of anything forbidden in the an ws may sue therefor in any district
court of the United States in the district in which the defendant resides or is found or has an agent,
without respect to the amount in controversy, and shall recover threefold the damages by him susiained,
and the cost of suit, including a reasonable attorney’s fee.

Remedy for Willful and Negligent Violations

15 USC 1681(0} - Civil liability for negligent noncompliance

{a} in General - Any person who is negligent in failing to comply with any requirement imposed under
this subchapter with respect to any consumer is liable to that consumer in an amount equal to the
sum of—

(1) any actual damages sustained by the consumer as a resuit of the failure; and
(2) in the case of any successful action to enforce any liability under this section, the costs of
the action together with reasonable atiorney’s fees as determined by the court.

15 USC 1681(n) - Civil liability for willful noncompliance
(a) In Generai - Any person who willfully fails to comply with any requirement imposed under this

subchapter with respect to any consumer is liable to that consumer in an amount equal to the
sum of—
(1) (A) - any actual damages sustained by the consumer as a result of the failure or damages of not

less than $100 and not more than $1,000

Summary

Because of the Willful noncompliance of Snap-On Credit the cure at this point is $1000 per violation as
outlined above (see enclosed invoice) and removal of the inaccurate account from my consumer report.

If proposed cure is not received within 10 days from receipt of this letter then further remedy will be a Civil
Lawsuit where Actual Damages will be sought.

| look forward to hearing from you on or before May 16th so that this matter can be closed out amicably to
avoid litigation.

Regards,

/s/ Joey Kimbrough

Enclosed: 1) Exhibit “A” - Credit report with inaccuracies
2) Exhibit “B” - Certified USPS slips from letter 1 & 2 (signed by Colleen E. Finerty)
3) Exhibit “C” - Copies of letters sent to Snap-On Credit listing inaccuracies/violations
4) Exhibit “D” - Response from Snap-On Credit indicating reporting is accurate, correct,
and will continue to be reported.
5) Exhibit “E” - BBB complaint filed by Kimbrough and response by Snap-On Credit
(Michael H. Walsh).
6) Exhibit “F” - CFPB complaint filed by Kimbrough
7) Exhibit “G” - $2.1M loan denial/actual damages
8) Invoice for USC Violations
